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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF ARKANSAS
                                  FAYETTEVILLE DIVISION

Joan Doe                                                                      PLAINTIFF
v.                                     No. 5:22-CV-05137
The Board of Trustees for                                                     DEFENDANT
the University of Arkansas in
Their Official Capacity, and
University of Arkansas
President And CEO Donald Bobbitt

                          MOTION TO RETROACTIVELY SEAL
   Plaintiff motions the Court to order that all documents in this case are subject to the full scope

of the protective order (Doc. 35) issued on March 13, 2023. Specifically, Plaintiff asks the Court

to order the Clerk’s office to retroactively seal documents (e.g., pleadings, exhibits, orders) that

“would disclose or lead to the disclosure of the identity of Joan Doe.” See Doc. 35, p.3, (d).

   The case docket currently contains documents that reveal Plaintiff’s first and last name,

medical information, complete date of birth, education history, and mailing address. An

Arkansas attorney unrelated to the case notified Plaintiff that he was able to find the case and

ascertain her identity.

   Plaintiff graduated from law school with a 2.97 grade point average. Since graduating

Plaintiff applied for innumerable jobs. Yet Plaintiff has had one interview and zero job offers.



                                     RELIEF REQUESTED

    1. Issue an expedited order retroactively applying the protective order (Doc. 35) to the entire

        case docket.

    2. Direct the Clerk’s office to expeditiously seal all case documents in accordance with the

        directions contained in the protective order (Doc. 35).
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    Respectfully submitted on this 26th day of July 2023.



                                                   By:     Joan Doe, (electronically signed)
                                                           Plaintiff pro se
                                                           Post Office Box 3197
                                                           Fayetteville, Arkansas 72702
                                                           479-372-2892
                                                           Sunshinecharlie13@yahoo.com


                                  CERTIFICATE OF SERVICE

       I, J. Doe, Plaintiff pro se, certify that on this 26th day of July I emailed the foregoing
    document to the recipients below. Though I proceed as a pro se litigant, Section 7 of
    Arkansas Administrative Order 21 permits registered users of the electronic system to
    receive service of filings electronically.

    C. Joseph Cordi, Jr., joecordi@uark.edu

                                                   Respectfully submitted,
                                                   By:   Joan Doe, (electronically signed)
                                                         Plaintiff pro se
                                                         Post Office Box 3197
                                                         Fayetteville, Arkansas 72702
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                                                         Sunshinecharlie13@yahoo.com
